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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

                                                :
IN RE:                                          :           CHAPTER 11
                                                 :
GREEN OAK ENTERPRISES, LLC,                     :           CASE NO 12-58823-CRM
      Debtor.                                   :
                                                :           JUDGE MULLINS
__________________________________              :
                                                :

                              SUPPLEMENT TO
              DEBTOR'S FIRST AMENDED PLAN OF REORGANIZATION

         GREEN OAK ENTERPRISES, LLC, the Debtor and Debtor in Possession (hereinafter the

“Debtor”) in the above-styled Chapter 11 case, hereby supplements the First Amended Plan of

Reorganization [Doc. No.152] by substituting the following treatment of Administrative Expense

Claims, Classes 2-7 and Class 13 Equity Interests for the Article III, Treatment of Administrative

Expenses, Classes and Priority Claims and Article IV, Paragraphs 4.2 Class 2 - 4.7 Class 7 and

Paragraph 4.13 Class 13 of the First Amended Plan of Reorganization.

        TREATMENT OF ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS
        Under §1123(a)(1) of the Bankruptcy Code, 11 U.S.C.§§101 et seq., administrative
expense claims are not in classes and accordingly, are considered unclassified claims. Each holder
of an administrative expense claim allowed under § 503 of the Code will be paid in full on the
Effective Date of this Plan, in cash, or upon such other terms as may be agreed upon by the holder
of the claim and the Debtor. This includes any U.S. Trustee fees owed on or before the Effective
Date of the Plan. Any creditor or party-in-interest who may have a claim for an administrative
expense pursuant to Section 503 of the Bankruptcy Code shall file an application with the Court
within thirty (30) days from the Effective Date (See, Article VIII, Paragraph E(2)). No Priority


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Tax Claims have been filed in this Case therefore there will be no payments to priority tax
claimants.

       Claimant Nationstar Mortgage, LLC has filed the following administrative expense claims
which shall be paid in full within sixty (60) days of the Effective Date:

               1) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing, LLC [Doc. No. 110] secured by the real property
                 located at 1219 Renee Drive, SW Lilburn, Georgia 30047(Claim No. 11);
               2) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing, LLC [Doc. No. 117] secured by the real property
                 located at 2630 West Regal Court, Lawrenceville, Georgia 30044
                 (Claim No. 12);
               3) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing, LLC [Doc. No. 115] secured by the real property
                 located at 2641 Abington Drive, Snellville, Georgia 30078 (Claim No. 16);
               4) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing, LLC [Doc. No. 107] secured by real property located
                 at 2458 Red Oak Bend, Oxford, Georgia 30054 (Claim No. 17);
               5) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing, LLC [Doc. No. 108] secured by real property located
                 at 4725 Rock Springs Ct., Loganville, Georgia 30052 (Claim No. 15);
               6) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing, LLC.[Doc. No. 109] secured by real property located
                 at 1230 Castle Pointe Lane, Grayson, Georgia 30017 (Claim No. 14); and
               7) Administrative Expense Claim of Nationstar Mortgage, LLC as transferee of
                 Ocwen Loan Servicing. LLC [Doc. No. 103] secured by real property located
                 at 5220 Green Oak Court, Sandy Springs, Georgia (Claim No. 13).


Class 2: Claim of Nationstar Mortgage, LLC (Claim No. 3) secured by real property located
at 1219 Renee Drive SW, Lilburn, Georgia 30047 is currently subject to lender-placed insurance
on the subject property. Debtor shall make insurance premiums directly to Nationstar Mortgage,
LLC on this lender-placed policy, as same come due after confirmation. Debtor also agrees to
reimburse Nationstar for any lender-based premiums paid by Nationstar after confirmation. Should
Debtor obtain outside insurance on the subject property, Debtor must provide proof of this
insurance to Nationstar. Nationstar will only cancel the lender-based policy upon Debtor
providing proof of its own policy.




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Class 3: Claim of Nationstar (Claim No. 4) secured by real property located at 2630 West
Regal Court Lawrenceville, Georgia 30044 is being surrendered per the First Amended Plan of
Reorganization. Upon confirmation of Debtor's First Amended Plan of Reorganization, the stay
of 11 U.S.C. § 362 is modified, without any further order of this Court, permitting Nationstar
Mortgage, LLC to immediately pursue its remedies under applicable state law and the provisions
of the security documents with respect to the subject property, including the initiation of
foreclosure proceedings, contacting Debtor as to the subject property and taking any lawful action
to gain possession of the subject property.


Class 4: Claim of Nationstar Mortgage, LLC (Claim No. 5) secured by real property located
at 2641 Abington Drive, Snellville, Georgia 30078 is currently subject to lender-placed
insurance on the subject property. Debtor shall make insurance premiums directly to Nationstar
Mortgage, LLC on this lender-placed policy, as same come due after confirmation. Debtor also
agrees to reimburse Nationstar for any lender-based premiums paid by Nationstar after
confirmation. Should Debtor obtain outside insurance on the subject property, Debtor must
provide proof of this insurance to Nationstar. Nationstar will only cancel the lender-based policy
upon Debtor providing proof of its own policy.


Class 5: Claim of Nationstar Mortgage, LLC (Claim No. 6) secured by real property located
at 2458 Red Oak Bend, Oxford, Georgia 30054 is currently subject to lender-placed insurance
on the subject property. Debtor shall make insurance premiums directly to Nationstar Mortgage,
LLC on this lender-placed policy, as same come due after confirmation. Debtor also agrees to
reimburse Nationstar for any lender-based premiums paid by Nationstar after confirmation. Should
Debtor obtain outside insurance on the subject property, Debtor must provide proof of this
insurance to Nationstar. Nationstar will only cancel the lender-based policy upon Debtor
providing proof of its own policy.


Class 6: Claim of Nationstar Mortgage, LLC (Claim No. 7) secured by real property located
at 4725 Rock Springs Court, Loganville, Georgia 30052 is currently subject to lender-placed
insurance on the subject property. Debtor shall make insurance premiums directly to Nationstar
Mortgage, LLC on this lender-placed policy, as same come due after confirmation. Debtor also
agrees to reimburse Nationstar for any lender-based premiums paid by Nationstar after
confirmation. Should Debtor obtain outside insurance on the subject property, Debtor must
provide proof of this insurance to Nationstar. Nationstar will only cancel the lender-based policy
upon Debtor providing proof of its own policy.




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Class 7: Claim of Nationstar Mortgage, LLC (Claim No. 9) secured by real property located
at 5220 Green Oak Court, Sandy Springs, Georgia 30052 is currently subject to lender-placed
insurance on the subject property. Debtor shall make insurance premiums directly to Nationstar
Mortgage, LLC on this lender-placed policy, as same come due after confirmation. Debtor also
agrees to reimburse Nationstar for any lender-based premiums paid by Nationstar after
confirmation. Should Debtor obtain outside insurance on the subject property, Debtor must
provide proof of this insurance to Nationstar. Nationstar will only cancel the lender-based policy
upon Debtor providing proof of its own policy.

Class 13: Claim of the Equity Interest and Shareholder will receive nothing under this Plan,
but will retain her interest by providing new value by the Effective Date in the amount of
$46,000.00 which is necessary for the payment of administrative claims. This new value is
intended to contribute in a meaningful way to the reorganization of Green Oak Enterprises, LLC.


        Other than as expressly modified by this Supplement, the terms of the First Amended Plan of

Reorganization shall govern the rights and responsibilities of Debtor, claimants, and parties in interest.



                                                Counsel for Green Oak Enterprises, LLC,

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                                CERTIFICATE OF SERVICE
        I, Karen L. Kropp, certify that I am over 18 years of age, and that on December 11, 2013,
I served a copy of the foregoing Supplement to First Amended Plan of Reorganization by first
class United States Mail with adequate prepaid postage to the United States Trustee, the Debtor
and parties or entities requesting notices at the addresses stated:

                                       Vivieon Kelley, Esq.
                                     Office of the United States Trustee
                                       362 Richard Russell Building
                                          75 Spring Street
                                        Atlanta, GA 30303

                                           Drew Stutzman
                                    Ellis, Painter, Ratteree & Adams, LP
                                       2 East Bryan Street, 10th Floor
                                        Savannah, GA 31401

                                  Jill Cremens, Managing Member
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                                          Grayson, GA 30017

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